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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


THE UNITED STATES,                              )
                Plaintiff,                      )
     Vs.                                        )       No. 19 CR 00321
                                                )
        Adan Casarrubias Salgado                )   Judge Mathew F. Kennelly
                                                )
                                                )
                        Defendant.              )


  DEFEDNANT’S MOTION IN LIMINE TO BAR GOVERNEMENT WITNESSES FROM
  IDENTIFYING ADAN CASARRUBIAS SALGADO AS THE PERSON SENDING TEXT
         MESSAGES TO THE GOVERNEMENT COOPERATING WITNESS.


INTRODUCTION:

        The case before the court is one of identification. Heroin was seized in the United States.

Evidence will be presented, and witnesses will be called to testify that the heroin was being sent

here by a supplier in Mexico. Most of the facts are not in dispute. The only fact in dispute, and

hence the only question for the jury, is the identification of the supplier in Mexico. It is alleged

that Adan Cassarubias Salgado was the supplier. Whether the government can prove this beyond

a reasonable doubt is not only central to this case, it is the case.


BACKGROUND:

        Multiple heroin suppliers communicated with the cooperating witness through a

BlackBerry Text Message Service. A Blackberry is a small, hand-held device used in this case to

send and receive text messages. There are no voice messages, voice recordings, or voice

communication in the present case—only text messages.




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        Text messages have been provided to the defense as part of the Government’s discovery

obligation. These text messages are, for the purpose of this motion, mostly between the

cooperating government witness in the Chicago area and the person or persons in Mexico (or

perhaps somewhere else) that the cooperating government witness alleges is supplying heroin to

him. Although the PIN on any given Blackberry device remains the same, the screen name can

change at any time. More significant is the fact that the Blackberry device is hand-held, giving it

a mobility that makes the identification of the user at best speculative. In other words, a

Blackberry devise can be used by any one person or any multitude of people in any given day—

or in any given hour for that matter. There is no way for a receiver of text messages on a

BlackBerry devise to know who is sending the text messages. Similarly, any person who is

intercepting these messages will invariably find himself in the exact same position as the receiver

of the message for the same reasons as stated above. 1 In other words, the interceptor does not

know who is sending the message.

        According to the discovery tendered by the government, multiple individuals supplied the

cooperating government witnesses with heroin. Furthermore, multiple other individuals were

involved in the movement of heroin into the Chicago area as well as the extraction of illegally

obtained United States Currency from the Chicago area. Most communication, if not all, was

done by way of Blackberry text messaging.




1
 The interceptor is limited to the following information: 1. The message content. 2. The sender’s PIN. 3 The
screenname of the sender. 4. The screenname of the receiver. 5. The date and time of the message. See
Government Motion DKT. #60.

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   1. WITNESS MUST HAVE PERSONAL KNOWLEDGE FRE 602

         All witnesses that the government seeks to use to identify the defendant as the supplier of

heroin can only testify to that identification to the extent they can do so based on their actual

personal knowledge.

         A witness may testify to the matter only if evidence is introduced sufficient to support a
         finding that the witness has personal knowledge of the matter. Evidence to prove personal
         knowledge may consist of the witness’s own testimony. This rule does not apply to a
         witness’s expert testimony under Rule 703. FRE 602

         In the present case the communication was done through text messages and so the

witnesses should be limited to that which they had personal knowledge of, i.e. in the case of the

cooperating witness, the screen name of the Blackberry device, and in the case of agents who

intercepted the messages, the screen name and the PIN of the Blackberry device. Any other

information would be conjecture, assumption, or speculation, and would therefore violate FRE

602.

         The Government’s motion in limine regarding identifying information on trial exhibits

suggests that these communications are the same as voice-based phone conversations. They are

not. The Government has said, in its Santiago Motion and in its Motion in limine, that their

witnesses will identify the defendant as the “speaker,” in these communications. For example,

the government has put forth that, “Individual A will identify this device and screenname as used

by defendant.” (Footnote 15, Santiago Proffer). Critically, the Government does not explain how

Individual A will be able to make that identification.

         The government and its witnesses should be barred from presenting the witnesses’ beliefs

or assumptions as if they were knowledge.




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   2. THE IDENTIFICATION OF THE SENDER OF THE TEXT MESSENGES IS A
      QUESTION OF FACT FOR THE JURY TO DECIDE

       The identity of the sender of certain text messages is at issue in this case, and that identity

is a factual determination for the jury to make. The court must not allow the government to

invade the province of the jury by making arguments or eliciting answers from witnesses that are

not based on the witnesses’ personal knowledge.

       Given the nature of these text messages, and given the attributes of the Blackberry devise

itself, for any witness to name the defendant as the sender of the text messages would not be

based on personal knowledge. Instead, it would be based on the conjecture, speculation, or

assumptions of the witnesses. The only identity the witness could make based on personal

knowledge is the “screen name” or perhaps the PIN of any given Blackberry device. Therefore,

the court should bar the government from eliciting any identity other than screen name or PIN

regarding the sender of any text message received.

       The court must not allow the government to invade the province of the jury by making

arguments or eliciting answers from witnesses that are not based on the witnesses’ personal

knowledge. To do so would violate the 5th and 6th amendments to the United States Constitution.

See United States vs Mentz (6th cir.) 840 F.2d 315 *; 1988 U.S. App. LEXIS 2130 **

WHEREFORE:

       The Court should grant this motion in limine.


                                              Respectfully submitted,
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